AO 248 (Rev. S.D. Ind. 09/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)




                          UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA                                 Case No. 1:20-cr-117-JMS-DML-1

                                                          ORDER ON MOTION FOR
 v.                                                       SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)
 GORDON WILSON                                            (COMPASSIONATE RELEASE)


       Upon motion of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors

provided in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing

Commission,

IT IS ORDERED that the motion is:

☐ DENIED.

☒ DENIED WITHOUT PREJUDICE. Defendant filed a pro se motion that the Court construes

as a Motion for Compassionate Release under 18 U.S.C. § 3582(c)(1)(A). Defendant's motion

does not provide the Court with sufficient information to determine whether it should grant

compassionate release under § 3582(c)(1)(A). Specifically, while Defendant contends that he

suffers from certain medical conditions that increase his risk of experiencing severe symptoms

if he contracts COVID-19, he does not explain whether he has received or been offered the

COVID-19 vaccine, which would reduce his risk of contracting COVID-19. Likewise, while

Defendant contends that he tested positive for COVID-19 in January 2021, he does not explain

whether he has recovered from the virus and, if not, what symptoms he is currently experiencing

and how, if at all, they affect his ability to engage in daily activities. Finally, Defendant was

sentenced in October 2020, at which time the Court was fully aware of the risks associated with
AO 248 (Rev. S.D. Ind. 09/20) ORDER ON MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)




COVID-19, but Defendant has not explained what, if any facts, have changed since his

sentencing. Such information is pertinent to the Court's evaluation of whether Defendant has

presented an "extraordinary and compelling reason" warranting a sentence reduction under

§ 3582(c)(1)(A)(i). Accordingly, Defendant's motion, dkt. [49], is denied without prejudice.

If Defendant wishes to renew his motion, he may do so by completing and returning the attached

form motion. (Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(A)

(Compassionate Release) (Pro Se Prisoner)). Among other things, the form requires Defendant

to explain whether he has received or been offered the COVID-19 vaccine. When he completes

the form, Defendant should also address the other issues identified above.

IT IS SO ORDERED.




      Date: 6/22/2021




Distribution:

Gordon Wilson
Reg. No. 17418-028
FCI Milan
Federal Correctional Institution
P.O. Box 1000
Milan, MI 48160

All Electronically Registered Counsel
